             Case 1:20-cv-01814-JLT-EPG Document 104 Filed 12/09/22 Page 1 of 20


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 7
 7                               UNITED STATES DISTRICT COURT
 8
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
 9
10       HOOPA VALLEY TRIBE,                             )   Civ. No. 1:20-cv-1814-JLT-EPG
10
                                                         )
11
11             Plaintiff,                                )
12                                                       )   PLAINTIFF’S RESPONSE IN
12             v.                                        )   OPPOSITION TO WESTLANDS
13                                                       )   WATER DISTRICT’S MOTION TO
13       UNITED STATES BUREAU OF                         )   INTERVENE AS DEFENDANT
14       RECLAMATION; DEBRA ANNE HAALAND,                )
14       in her official capacity as Secretary of the    )   Hearing Date: December 23, 20221
15
         Interior; MARIA CAMILLE CALIMLIM                )   Time:       9:00 AM
15
16       TOUTON, in her official capacity as             )   Courtoom: 4 – 7th Floor, Fresno
16       Commissioner of the United States Bureau of     )   Judge:     Hon. Jennifer L. Thurston
17       Reclamation; ERNEST A. CONANT, in his           )
17       official capacity as United States Bureau of    )   Trial Date: None
18       Reclamation California-Great Basin Regional     )   Action Filed: August 13, 2020
18       Director; and UNITED STATES                     )
19
         DEPARTMENT OF THE INTERIOR                      )
19                                                       )
20
               Defendants.                               )
20
21
21
22
22
23   1 On September 6, 2022, the Court set a briefing schedule relating to Westlands’ motion to
23   intervene, providing that responses to Westlands’ motion to intervene are due 21 days after
24   Westlands filed its motion, with Westlands’ reply due 14 days after responses. ECF Dkt. #96.
24
25   Westlands filed its motion to intervene on November 18, 2022; thus, pursuant to the Court’s
     order (ECF Dkt. #96), responses are due December 9, 2022, and Westlands’ reply is due
25
26   December 23, 2022. Given this briefing schedule, it appears that the noting date of December
     23, 2022, is in error and should be moved to a date no earlier than January 3, 2023.
26
     PLAINTIFF’S RESPONSE IN OPPOSITION TO
27   WESTLANDS WATER DISTRICT’S
     MOTION TO INTERVENE AS DEFENDANT - i
28
            Case 1:20-cv-01814-JLT-EPG Document 104 Filed 12/09/22 Page 2 of 20



1                                              TABLE OF CONTENTS
     I.     INTRODUCTION................................................................................................................ 1
2
     II.    FACTUAL AND PROCEDURAL BACKGROUND ....................................................... 2
33
            A.      Hoopa’s Complaint. ...................................................................................................... 2
44          B.      Relevant Procedural History re Westlands Intervention ............................................... 4
55   III. INTERVENTION STANDARDS ....................................................................................... 5
     IV. ARGUMENT ........................................................................................................................ 7
66
            A.      The Court Should Deny Intervention of Right. Westlands Lacks a Sufficient Legally
 7                  Protectable Interest Relating to this Action Because It Lacks Binding or Enforceable
 7
                    Contract Rights: Westlands’ WIIN Act Contract Was Denied the Validation
 8                  Required by Law and the WIIN Act Authorization Has Now Expired. ....................... 7
 8
 9               1.      Westlands Lacks Enforceable Contract Rights Under Its WIIN Act Contract,
 9                       Which Has Been Denied the Validation Required by Law. ................................... 7
10
10               2.      Westlands Cannot Cure the Deficiencies in its WIIN Act Contract Because the
11                       WIIN Act Authorization Has Now Expired.......................................................... 11
11
                 3.      The Federal Defendants Adequately Represent Westlands In This Case. ............ 13
12
12          B.      The Court Should Also Deny Permissive Intervention. ............................................. 13
13          C.      Westlands Has Failed to Comply With FRCP 24(c). ................................................. 14
13
14   V.     CONCLUSION .................................................................................................................. 15
14
15
15
16
16
17
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18
18
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20
20
21
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     PLAINTIFF’S RESPONSE IN OPPOSITION TO
27   WESTLANDS WATER DISTRICT’S
     MOTION TO INTERVENE AS DEFENDANT - ii
28
             Case 1:20-cv-01814-JLT-EPG Document 104 Filed 12/09/22 Page 3 of 20


                                                     TABLE OF AUTHORITIES
1

2    Cases
     Arakaki v. Cayetano
33
       324 F.3d 1078 (9th Cir. 2003) ................................................................................................... 13
44   Barcellos & Wolfsen, Inc. v. Westlands Water Dist
       491 F. Supp. 263, 265 n.1 (E.D. Cal. 1980) ............................................................................. 12
55
     Center for Biological Diversity v. U.S. Bureau of Reclamation
66     2021 U.S. Dist. LEXIS 28671 (E.D. Cal., Feb. 16, 2021) (“CBD”) ........................................ 11
 7   Central Arizona Irrigation & Drainage Dist. v. Lujan
 7
       764 F. Supp. 582, (D. Ariz. 1991) ............................................................................................ 12
 8
 8   Coast Rivers All. v. United States DOI
 9     2021 U.S. Dist. LEXIS 211046 (E.D. Cal., Nov. 1, 2021) (“NCRA”)..................................... 11
 9
     Donnelly v. Glickman
10
10     159 F.3d 405, (9th Cir. 1998) ........................................................................................ 11, 12, 14
11   Peggy v. Schwarzenegger
11
       630 F.3d 898, (9th Cir. 2011) ...................................................................................................... 6
12
12   Ranchers Cattlemen Legal Fund v. USDA
13     143 Fed. Appx. 751 (9th Cir. 2005) ........................................................................................... 13
13
14   Smith v. L.A. Unified Sch. Dist
14     822 F.3d 1065 (9th Cir. 2016) ..................................................................................................... 6
15
15   Southwest Ctr. for Biological Diversity v. Berg
16     268 F.3d 810, (9th Cir. 2001) ................................................................................................ 7, 14
16   Westlands Water District v. All Persons Interested
17
      Case No. 19CECG03887, Fresno County Sup. Ct. Judgment (March 15, 2022) ....................... 1
17
18   Wilderness Soc. v. U.S. Forest Service
18     630 F.3d 1173 (9th Cir. 2011) ..................................................................................................... 6
19
19   Statutes
20
20   43 U.S.C. § 511 ................................................................................................................. 1, 7, 9, 12
21
21   Central Valley Project Improvement Act (“CVPIA”)
22     Pub Law No. 102-575, § 3404-3406, (1992) ................................................................ 2, 3, 4, 14
22
23   National Environmental Policy Act (“NEPA”) .......................................................................... 3, 4
23
24   Omnibus Adjustment Act of 1926
      §46, 43 U.S.C. §423e .................................................................................................................. 8
24
25   Public Law 114-322
25
26     130 Stat. 1628, §4013 (December 16, 2016) .......................................................................... 2, 7

26
     PLAINTIFF’S RESPONSE IN OPPOSITION TO
27   WESTLANDS WATER DISTRICT’S
     MOTION TO INTERVENE AS DEFENDANT - iii
28
             Case 1:20-cv-01814-JLT-EPG Document 104 Filed 12/09/22 Page 4 of 20



1    Other Authorities

2
     Moore’s Federal Practice
33    § 24.03 (3d. ed, 2018) ............................................................................................................... 11
44

55   Rules
66   California Code of Civil Procedure
       § 870, (a) ................................................................................................................................... 12
 7
 7   Federal Rules of Civil Procedure (FRCP)
 8     Rule 24 ............................................................................................................................... passim
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     PLAINTIFF’S RESPONSE IN OPPOSITION TO
27   WESTLANDS WATER DISTRICT’S
     MOTION TO INTERVENE AS DEFENDANT - iv
28
           Case 1:20-cv-01814-JLT-EPG Document 104 Filed 12/09/22 Page 5 of 20



1                                           I.      INTRODUCTION

2           Plaintiff Hoopa Valley Tribe hereby responds in opposition to Westlands Water District’s
33   (Westlands) Motion to Intervene as Defendant. ECF Dkt. #102.2 Westlands is not entitled to
44   intervene in this litigation pursuant to Federal Rule of Civil Procedure (FRCP) 24 because
55   Westlands lacks binding or enforceable WIIN Act contract rights or other legally protected
66   interests that could be impaired by this litigation.
 7
 7          Westlands bases its claim of intervention on purported rights in a WIIN Act contract (14-
 8
 8   06-200-495A-IR1-P) with the Defendant United States Bureau of Reclamation (Reclamation)
 9
 9   executed on February 28, 2020. However, Westlands’ motion fails to report a series of judicial
10
10   decisions in Fresno County Superior Court, dating from February 27, 2020, through final
11
11   judgment on March 15, 2022, that repeatedly denied validation of Westlands’ WIIN Act
12
12   contract. The Court, in these decisions, denied validation due to fundamental deficiencies in the
13
13   contract that prevented validation under California state law. See ECF Dkt #105-1 (Westlands
14   Water District v. All Persons Interested, Case No. 19CECG03887, Judgment (March 15, 2022);
14
15   Order (October 27, 2021)) (attached as Exhibit 1 to Declaration of Thane Somerville).
15
16          This affirmative denial of validation through state court judgment that, among other
16
17   things, found the contract violated laws to protect the public interest, renders Westlands’ WIIN
17
18   Act contract non-binding and unenforceable against the United States. 43 U.S.C. § 511.
18
19   Reclamation cannot cure the deficiencies in Westlands’ WIIN Act contract through re-
19
20   negotiation or amendment because the WIIN Act and Reclamation’s conditional authorization to
20
21
21
22
     2 Hoopa previously filed a non-opposition (ECF Dkt. #56) to Westlands’ first intervention
22
23   motion, which was based on Hoopa’s original complaint, before the Court administratively
23   terminated that prior motion (ECF Dkt. #79). At that time, Hoopa was not fully apprised of the
24   facts and legal developments bearing on intervention that Hoopa addresses in this opposition.
24
25   Accordingly, Hoopa has changed its position to one of opposition to Westlands’ current
     intervention motion, which addresses Hoopa’s claims in its First Amended and Supplemental
25
26   Complaint.

26
     PLAINTIFF’S RESPONSE IN OPPOSITION TO
27   WESTLANDS WATER DISTRICT’S
     MOTION TO INTERVENE AS DEFENDANT - 1
28
          Case 1:20-cv-01814-JLT-EPG Document 104 Filed 12/09/22 Page 6 of 20



1    make permanent repayment contracts expired on December 16, 2021. Public Law 114-322, 130

2    Stat. 1628, Section 4013 (December 16, 2016) (stating that Subtitle J of the WIIN Act, re

33   California Water, would expire five years after its enactment). Reclamation denied Hoopa’s

44   repeated requests that Reclamation void and amend the contracts to conform with federal law

55   prior to expiration of the WIIN Act. ECF Dkt ## 105-2; 105-3 (Declaration of Thane

66   Somerville, Exhs. 2, 3).

 7          Westlands lacks sufficient legally protectable rights or interests to support intervention in
 7
 8   this litigation, in which Plaintiff challenges the United States’ administrative approval of various
 8
 9   permanent contracts pursuant to the WIIN Act. Here, Westlands’ contract is not just unvalidated
 9
10   – rather, it has been affirmatively denied validation by multiple decisions and a final judgment of
10
11   the California state court. See ECF Dkt. #105-1. Due to the decisions and final judgment
11
12   denying validation and the expiration of WIIN Act authority, Westlands lacks a binding,
12
13   enforceable contract with the United States pursuant to the WIIN Act. Thus, Westlands lacks
13
14   legally protectable interests that could be impaired by this litigation and its motion to intervene
14
15   must be denied.
15
16                       II.    FACTUAL AND PROCEDURAL BACKGROUND
16
17          A. Hoopa’s Complaint.
17
18          Hoopa Valley Tribe filed this suit on August 13, 2020. ECF Dkt. #1. It filed its First
18
19   Amended Complaint with written consent of Defendants on October 31, 2022. ECF Dkt. #97.
19
20   The Tribe’s claims are solely against officials and agencies of the United States. Id. Hoopa
20
21   alleges that the United States violated federal law by approving and entering into certain
21
22   permanent water contracts without complying with Section 3404(c)(2) of the Central Valley
22
23   Project Improvement Act (“CVPIA”), Public Law 102-575 (1992), which requires Reclamation
23
24   to incorporate in the contracts federal trust responsibilities owed exclusively to Hoopa,
24
25   recognition of delegated sovereignty rights to Hoopa, and related fishery restoration cost
25
26   reimbursement obligations, all of which are established in CVPIA section 3406(b)(23). ECF
26
     PLAINTIFF’S RESPONSE IN OPPOSITION TO
27   WESTLANDS WATER DISTRICT’S
     MOTION TO INTERVENE AS DEFENDANT - 2
28
          Case 1:20-cv-01814-JLT-EPG Document 104 Filed 12/09/22 Page 7 of 20



1    Dkt. #97, pp. 36 - 39. Hoopa also alleges that Reclamation executed the contracts without

2    complying with the National Environmental Policy Act (“NEPA”). ECF Dkt. #97, pp. 36 - 39.

33   Hoopa further alleges that the United States violated other provisions of federal law fundamental

44   to protection of the Trinity River and Hoopa’s interests therein. ECF Dkt. #97, pp. 39 - 57.

55   None of these claims challenge actions of the contractors; rather, they only allege unlawful

66   conduct of United States agencies and officials. The named federal Defendants are the only

 7   necessary defendants.
 7
 8          Hoopa Valley Tribe is a sovereign federally recognized Indian tribe. The Trinity River is
 8
 9   the Klamath River’s largest tributary and flows through the Hoopa Valley Reservation. It is the
 9
10   source of the fishery from which Hoopa has benefited since time immemorial. The Trinity River
10
11   Division (TRD) of the Central Valley Project (CVP), located in the Trinity River Basin, directly
11
12   impacts Hoopa’s property rights that are held in federal trust and expressly protected by federal
12
13   laws including the Law of the Trinity River, a body of statutes, regulations, and administrative
13
14   court decisions intended to protect Hoopa and Trinity River resources from TRD/CVP impacts.
14
15          By means of the TRD, the United States Bureau of Reclamation diverts water away from
15
16   the Hoopa Valley Reservation out of the Klamath-Trinity Basin and as much as 400 miles south
16
17   into the Central Valley. The TRD is the only CVP facility that exports water to the Central
17
18   Valley. The diverted water would otherwise flow downstream through the Hoopa Valley
18
19   Reservation.
19
20          The federal government has repeatedly acted through statute, regulation, and agency
20
21   action to protect and enforce Hoopa’s rights in the Trinity River fishery from the impacts of
21
22   Reclamation’s TRD/CVP out-of-basin diversions. Section 3404(c)(2) of the CVPIA states:
22
23   “Upon renewal of any long-term repayment or water service contract providing for the delivery
23
24   of water from the Central Valley Project, the Secretary shall incorporate all requirements
24
25   imposed by existing law, including provisions of this title, within such renewed contracts. The
25
26   Secretary shall also administer all existing, new, and renewed contracts in conformance with the
26
     PLAINTIFF’S RESPONSE IN OPPOSITION TO
27   WESTLANDS WATER DISTRICT’S
     MOTION TO INTERVENE AS DEFENDANT - 3
28
          Case 1:20-cv-01814-JLT-EPG Document 104 Filed 12/09/22 Page 8 of 20



1    requirements and goals of this title.” Hoopa alleges that the federal Defendants failed to comply

2    with CVPIA section 3404(c)(2) and other federal laws in their recent approvals of permanent

33   water contracts pursuant to the WIIN Act. Hoopa alleges that the Defendants unlawfully failed

44   to incorporate into the permanent WIIN Act contracts the requirements of law that protect Hoopa

55   and the Trinity River from impacts of the TRD and CVP. Hoopa does not contend that

66   Reclamation is barred from making water contracts; rather, Hoopa contends that the permanent

 7   WIIN Act contracts challenged in this case must conform with law expressly protecting Hoopa
 7
 8   interests in Trinity River resources identified in the CVPIA and other federal law.3 Hoopa also
 8
 9   challenges the United States’ approvals of the contracts on other grounds including the failure to
 9
10   prepare any environmental review under NEPA.
10
11          B. Relevant Procedural History re Westlands Intervention
11
12          Westlands initially filed its motion to intervene on December 14, 2020, while this case
12
13   was still assigned to the Northern District of California. ECF Dkt. #31. On March 17, 2021,
13
14   following transfer to this judicial district, Westlands re-filed its motion to intervene. ECF Dkt.
14
15   #50. Litigation was stayed from August 31, 2021 through July 26, 2022 to facilitate settlement
15
16   discussions between Plaintiff and Defendants, which discussions ultimately did not result in
16
17   settlement. While litigation was stayed, on February 2, 2022, the Court administratively
17
18   terminated Westlands’ pending motion to intervene, stating that Westlands “may re-notice the
18
19   motion if the stay is lifted.” ECF Dkt. #89. On August 24, 2022, Westlands re-noticed its
19
20   previously filed motion to intervene. ECF Dkt. ## 92 (re-notice); #50 (prior intervention motion).
20
21   Briefing on that motion was stayed pending the filing of the Tribe’s amended complaint. ECF
21
22   Dkt. #96. Following the Tribe’s filing of its amended complaint (ECF Dkt. #97), Westlands has
22
23   again moved to intervene. ECF Dkt. #102.
23
24
24
25   3 This litigation challenges only the permanent contracts entered into pursuant to the WIIN Act
25
26   and not Westlands’ interim renewal contracts which continue to provide the contractual
     opportunity to receive water regardless of the validity or existence of the WIIN Act contracts.
26
     PLAINTIFF’S RESPONSE IN OPPOSITION TO
27   WESTLANDS WATER DISTRICT’S
     MOTION TO INTERVENE AS DEFENDANT - 4
28
           Case 1:20-cv-01814-JLT-EPG Document 104 Filed 12/09/22 Page 9 of 20



1            In all of its intervention documents, Westlands fails to mention the critical facts and legal

2    developments that negate Westlands’ ability to intervene. These facts and legal developments

33   include: (1) the Fresno County Superior Court’s February 27, 2020, Tentative Ruling to deny

44   validation of Westlands’ contract; (2) the Superior Court’s March 16, 2020, Order adopting the

55   Tentative Ruling as the order of the Court; (3) the Superior Court’s October 27, 2021, Order

66   adopting October 26, 2021 Tentative Ruling to deny Westlands’ renewed motion for a validation

 7   judgment; and (4) the Superior Court’s March 15, 2022, order, judgment, and decree dismissing
 7
 8   Westlands’ complaint for validation judgment.4 See ECF Dkt. #105-1 (containing referenced
 8
 9   orders and judgment). In addition, Reclamation’s authority to contract pursuant to the WIIN Act
 9
10   expired on December 16, 2021. Due to these changed circumstances, Westlands’ motion to
10
11   intervene should be denied.5
11
12                                  III.    INTERVENTION STANDARDS
12
13
13       The Ninth Circuit has adopted a four-part test for determining whether an applicant can
14   intervene as of right pursuant to FRCP 24(a)(2):
14
15           (1) the application for intervention must be timely;
15
16           (2) the applicant must have a significantly protectable interest relating to the property or
16
17   transaction that is the subject of the action;
17
18           (3) the applicant must be so situated that disposition of the action may, as a practical
18
19   matter, impair or impede the applicant’s ability to protect that interest; and
19
20
20   4 Westlands filed an appeal on April 15, 2022, which remains pending. Westlands Water
21
     District v. County of San Joaquin et al., 5th Appellate District, Case Number F083632
21
22   (CON/F084202). The judgment denying validation remains effective pending appeal.
22
23   5 Westlands motion represents that “Counsel for [the federal] Defendants indicated they will not
23   oppose this motion [for intervention].” ECF Dkt. #102, p. 3. Westlands subsequently reported
24   that federal Defendants “take no position” on the motion. ECF Dkt. #103. However, given that
24
25   Westlands’ motion does not address the facts and legal developments that, in Hoopa’s view,
     negate Westlands’ ability to intervene, the Court should call on the federal Defendants to
25
26   respond in writing as to their effect on the federal Defendants’ views on what law, if any,
     supports Westlands’ claim of a legally protected interest in this case that justifies intervention.
26
     PLAINTIFF’S RESPONSE IN OPPOSITION TO
27   WESTLANDS WATER DISTRICT’S
     MOTION TO INTERVENE AS DEFENDANT - 5
28
          Case 1:20-cv-01814-JLT-EPG Document 104 Filed 12/09/22 Page 10 of 20



1           (4) the applicant’s interest must not be adequately represented by existing parties to the

2    action. Smith v. L.A. Unified Sch. Dist., 822 F.3d 1065, 1074 (9th Cir. 2016); Wilderness Soc. v.

33   U.S. Forest Service, 630 F.3d 1173, 1177 (9th Cir. 2011) (en banc). If a proposed intervenor fails

44   to establish any one of these requirements, the motion to intervene as of right must be denied.

55   Peggy v. Schwarzenegger, 630 F.3d 898, 903 (9th Cir. 2011) (burden is on applicant for

66   intervention; applicant’s failure to satisfy any requirement is fatal to intervention). Here,

 7   Westlands lacks a significantly protectable interest; thus, elements (2) and (3) of the FRCP 24(a)
 7
 8   intervention test cited above are not met, defeating Westlands’ motion. In addition, Westlands is
 8
 9   adequately represented by the federal Defendants in this case.
 9
10          Pursuant to FRCP 24(b), an applicant may be granted permissive intervention if the
10
11   applicant establishes that the motion is timely and that the applicant’s claim or defense and the
11
12   main action have a common question of law or fact. If these criteria are met by the applicant, the
12
13   court must exercise its discretion to consider whether intervention will unduly delay or prejudice
13
14   the adjudication of rights of the original parties. FRCP 24(b). Westlands fails to satisfy the
14
15   criteria for permissive intervention. At this point, given Westlands’ failure to comply with FRCP
15
16   24(c) (as discussed below), there is no evidence of any claim or defense that Westlands may
16
17   share with the main action. In addition, Westlands’ intervention would delay and prejudice
17
18   Hoopa’s adjudication of its claims, which are solely against the United States.
18
19          FRCP 24(c) requires that a motion to intervene must be accompanied by a pleading that
19
20   sets out the claim or defense for which intervention is sought. The failure to attach the required
20
21   pleading is improper and creates prejudice by making it impossible for the court and parties to
21
22   evaluate and respond to the alleged basis for intervention. Here, Westlands failed to file the
22
23   required pleading under FRCP 24(c), which provides independent grounds to deny intervention
23
24
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     PLAINTIFF’S RESPONSE IN OPPOSITION TO
27   WESTLANDS WATER DISTRICT’S
     MOTION TO INTERVENE AS DEFENDANT - 6
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          Case 1:20-cv-01814-JLT-EPG Document 104 Filed 12/09/22 Page 11 of 20



1                                             IV.     ARGUMENT

2           A. The Court Should Deny Intervention of Right. Westlands Lacks a Sufficient
               Legally Protectable Interest Relating to this Action Because It Lacks Binding or
33             Enforceable Contract Rights: Westlands’ WIIN Act Contract Was Denied the
               Validation Required by Law and the WIIN Act Authorization Has Now Expired.
44
            Westlands asserts that it is entitled to intervene as a party defendant because “contract
55
     rights are traditionally protectable interests” sufficient to support intervention of right. ECF Dkt.
66
     #102, p. 13, citing Southwest Ctr. for Biological Diversity v. Berg, 268 F.3d 810, 820 (9th Cir.
 7
 7
     2001). In fact, Westlands’ entire argument supporting intervention is based on a theory that it
 8
 8
     has enforceable contract rights that could be affected in this litigation. Westlands’ motion omits
 9
 9   critical facts and legal developments that belie its claim of a protected interest in a WIIN Act
10
10   Contract. Westlands lacks enforceable WIIN Act contract rights because the Fresno County
11
11   Superior Court denied Westlands’ request for validation of its WIIN Act contract, rendering it
12
12   non-binding and unenforceable against the United States. See ECF Dkt. #105-1 (Westlands
13
13   Water District v. All Persons Interested, Case No. 19CECG03887, Judgment (March 15, 2022);
14
14   Minute Order (October 27, 2021)). Moreover, Westlands cannot now correct the deficiencies in
15
15   its contract because the WIIN Act authorization expired on December 16, 2021. See Public Law
16
16   114-322, 130 Stat. 1628, Section 4013 (December 16, 2016) (stating that Subtitle J of the WIIN
17
17   Act, re California Water, would expire five years after its enactment). Due to these facts and
18
18   legal developments, Westlands lacks binding, enforceable contract rights related to this action
19
19   and is thus not entitled to intervene because it lacks a legally protectable interest that could be
20
20   impaired by this litigation.
21
                        1. Westlands Lacks Enforceable Contract Rights Under Its WIIN Act
21
22                         Contract, Which Has Been Denied the Validation Required by Law.
22
23          Since May 1922, federal law has required that federal water contracts be validated by
23
24   state court decree. 43 U.S.C. § 511. Absent such required validation, water contracts are not
24
25   binding on the United States and are thus unenforceable. Id. “[N]o contract with an irrigation
25
26   district under [Title 43, §§ 511-513] shall be binding on the United States until the proceedings
26
     PLAINTIFF’S RESPONSE IN OPPOSITION TO
27   WESTLANDS WATER DISTRICT’S
     MOTION TO INTERVENE AS DEFENDANT - 7
28
          Case 1:20-cv-01814-JLT-EPG Document 104 Filed 12/09/22 Page 12 of 20



1    on the part of the district for the authorization of the execution of the contract with the United

2    States shall have been confirmed by decree of a court of competent jurisdiction, or pending

33   appellate action if ground for appeal be laid.” Id.

44          Similarly, Section 46 of the Omnibus Adjustment Act of 1926, codified at 43 U.S.C. §

55   423e, similarly requires that: “No water shall be delivered upon the completion of any new

66   [Reclamation] project or new division of a project until a contract or contracts in form approved

 7   by the Secretary of the Interior shall have been made with an irrigation district or irrigation
 7
 8   districts organized under State law . . ., and the execution of said contract or contracts shall have
 8
 9   been confirmed by a decree of a court of competent jurisdiction.” 43 U.S.C. § 423e.
 9
10          Here, consistent with these century old requirements of federal law, Article 47 of
10
11   Westlands’ WIIN Act Contract No. 14-06-200-495A-IR1-P expressly requires validation and
11
12   confirms that lack of validation renders the contract unenforceable against the United States:
12
13          “Promptly after the execution of this amended Contract, the Contractor will
13          provide to the Contracting Officer a certified copy of a final decree of a court of
14          competent jurisdiction in the State of California, confirming the proceedings on
14          the part of the Contractor for the authorization of the execution of this amended
15          Contract. This amended Contract shall not be binding on the United States until
15          the Contractor secures a final decree.”
16
16
17   See ECF Dkt. # 105-4 Somerville Declaration, Exh. 4 (emphasis added). Nearly three years
17
18   have passed since contract execution; Westlands has plainly failed to “promptly” provide the
18
19   Contracting Officer with evidence of validation, as required by Article 47. In fact, validation has
19   been affirmatively denied by the state court. ECF Dkt #105-1.
20
20          Congress requires validation to protect the public interest in the development and
21
21
22   distribution of the nation’s water resources and to ensure that water from federal facilities is only
22
23   delivered to districts with judicially confirmed authority. As explained by the Office of the
23
24   Solicitor of the Department of the Interior: “[t]he Act of May 15, 1922 requires the judicial
24
25   confirmation of contracts with irrigation districts as a measure of protection for the United
25
26   States. This confirmation assures the validity of the contract by making sure the irrigation

26
     PLAINTIFF’S RESPONSE IN OPPOSITION TO
27   WESTLANDS WATER DISTRICT’S
     MOTION TO INTERVENE AS DEFENDANT - 8
28
          Case 1:20-cv-01814-JLT-EPG Document 104 Filed 12/09/22 Page 13 of 20



1    district has complied with all state law requirements. . . . Congress has required the proceeding

2    to take place before the United States will be bound by the terms of the contract.” Memorandum

33   of the Office of the Solicitor (July 9, 1984), pp. 1-2, citing Solicitor’s Opinion, 71 Interior

44   Decisions 496, 517-18 (1964) and 43 U.S.C. § 511 (emphasis added). ECF Dkt. #105-5

55   (Declaration of Thane Somerville, Exh. 5).

66          In recognition of this settled law and practice, Westlands Water District on October 25,

 7   2019, filed a Complaint for Validation Judgment in Fresno County Superior Court seeking a
 7
 8   court judgment validating Westlands’ proposed WIIN Act contract with the United States. On
 8
 9   March 16, 2020, Fresno County Superior Court Judge Simpson denied Westlands’ request for
 9
10   validation, ruling that Westlands WIIN Act contract could not be validated under California law.
10
11   Judge Simpson found the contract deficient and unlawful because the contract’s “absence of the
11
12   actual final [repayment] amount and payment schedule render the proposed contract lacking in
12
13   material terms and incomplete” and the “validation statutes do not encompass judicial approval
13
14   of incomplete contracts.” ECF Dkt. 105-1, p. 12 (March 16, 2020 Minute Order, Section 4)).
14
15   The Court ruled that validation of Westlands’ WIIN Act contract was not possible because “the
15
16   requested finding of compliance with the Brown Act [California Government Code 54950 et
16
17   seq.] cannot be made.” ECF Dkt. #105-1, pp. 12-13 (March 16, 2020 Minute Order, Section 5)).
17
18          Westlands subsequently filed a renewed motion for validation judgment. Due to Judge
18
19   Simpson’s retirement, this renewed motion was heard by Judge Tharpe of the Fresno County
19
20   Superior Court. But the conclusion was the same. Judge Tharpe denied Westlands’ renewed
20
21   motion for validation judgment because Judge Tharpe found no new or different facts,
21
22   circumstances, or law that would justify renewal of Westlands’ validation motion. ECF Dkt.
22
23   #105-1, pp. 16-20 (October 27, 2021 Minute Order)). Judge Tharpe found:
23
24          “[n]one of plaintiff’s purportedly new facts support the motion for renewal. . . .
            As Judge Simpson held, the contract considered by the Board in October 2019
24
25          was only a proposed, incomplete contract, because it lacked key terms like the
            final repayment price and the dates on which repayments would be due. . . . It was
25
26          also uncertain and incomplete because the resolution adopted by the Board
26
     PLAINTIFF’S RESPONSE IN OPPOSITION TO
27   WESTLANDS WATER DISTRICT’S
     MOTION TO INTERVENE AS DEFENDANT - 9
28
          Case 1:20-cv-01814-JLT-EPG Document 104 Filed 12/09/22 Page 14 of 20


            allowed the President of the Board, its General Manager, and its General Counsel
1           to modify the agreement’s terms after it had been approved by the Board. . . . The
2           Board’s subsequent resolution that the final contract was consistent with its earlier
            resolution does not cure these deficiencies, and does not create the type of new
33          facts and circumstances that would justify renewal or reconsideration of the prior
            order.”
44
     ECF Dkt. #105-1, p. 18 (October 27, 2021, Minute Order, p. 4). Once again denying validation,
55
     Judge Tharpe concluded:
66
            “As discussed above, Westlands has failed to show that the court should
 7          reconsider or reject Judge Simpson’s reasoning here. Therefore, as the court has
 7
 8          already found that the [Westlands] Board’s decision to approve and execute the
 8          contract was not the proper subject of a validation action, [the court] cannot now
 9          grant validation as to any portion of the Board’s decision. As a result, the court
 9          intends to deny the renewed motion for a validation judgment, in its entirety.”
10
10   ECF Dkt. #105-1, p. 20 (October 27, 2021, Minute Order, p. 6).
11          On March 15, 2022, based on the Court’s prior orders of March 16, 2020 and October 27,
11
12   2021, the Fresno County Superior Court entered final judgment against Westlands, ordering that:
12
13   “Plaintiff’s Complaint for Validation Judgment is DISMISSED” and that “Plaintiff shall take
13
14   nothing by its Complaint.” ECF Dkt. #105-1, pp 5-6 (March 15, 2022 Judgment). Thus,
14
15   Westlands has not only failed to obtain required validation of its WIIN Act contract, but it has
15
16   affirmatively requested and been affirmatively denied validation by the Fresno County Superior
16
17   Court in a final judgment due to the inherent and uncured deficiencies in its WIIN Act Contract.6
17
18          While Westlands asserts in its intervention motion that contract rights are protectable
18
19   interests for intervention purposes, none of the cases that Westlands relies upon in its
19
20   intervention motion involve a situation where a proposed-intervenors’ asserted contract rights are
20
21   rendered unenforceable and non-binding in a separate legal action prior to, or at the time of, the
21
22
22
23   6 Westlands’ appeal of the judgment denying validation remains pending in the California Court
23   of Appeals. To the extent that this Court wants to know the outcome of the state court appeal
24   before ruling on Westlands’ current intervention motion, Plaintiff would not object to the Court’s
24
25   deferring ruling on Westlands’ intervention motion until after the state court appellate decision.
     For the Court’s information, Briefs of Respondents in the state validation appeal are attached as
25
26   Exhibits 6 and 7 to the Declaration of Thane Somerville (ECF Dkt #105-6; 105-7.

26
     PLAINTIFF’S RESPONSE IN OPPOSITION TO
27   WESTLANDS WATER DISTRICT’S
     MOTION TO INTERVENE AS DEFENDANT - 10
28
          Case 1:20-cv-01814-JLT-EPG Document 104 Filed 12/09/22 Page 15 of 20



1    intervention motion. Thus, the cases cited in Westlands’ intervention motion are distinguishable

2    and do not support its intervention here. For intervention analysis, a “protectable” interest means

33   “legally protectable.” Moore’s Federal Practice 3d. ed, § 24.03[2][a], citing Donnelly v.

44   Glickman, 159 F.3d 405, 409 (9th Cir. 1998). Westlands cites no authority to support its claim

55   that a non-binding and unenforceable contract creates a legally protectable interest that can

66   support intervention under FRCP 24(a). A non-binding, unenforceable contract is not “legally

 7   protectable” and thus cannot support intervention.
 7
 8          Westlands also attempts to rely on the fact that it has been ordered joined as a defendant
 8
 9   in two cases challenging the federal government’s water contract approvals. See N. Coast Rivers
 9
10   All. v. United States DOI, 2021 U.S. Dist. LEXIS 211046 (E.D. Cal., Nov. 1, 2021) (“NCRA”);
10
11   Center for Biological Diversity v. U.S. Bureau of Reclamation, 2021 U.S. Dist. LEXIS 28671
11
12   (E.D. Cal., Feb. 16, 2021) (“CBD”). However, the facts and legal developments addressed
12
13   herein regarding Westlands’ WIIN Act contract were not raised or at issue in those cases.
13
14   Accordingly, those decisions cannot be a basis for Westlands’ intervention in this case. Since
14
15   those orders were issued, judgment has been entered against Westlands denying validation of its
15
16   WIIN Act contract and the WIIN Act authorization has expired. Based upon all the facts,
16
17   including those omitted by Westlands in its motion, Westlands has failed to establish a right to
17
18   intervene. Westlands’ motion to intervene must be denied.
18
19                      2. Westlands Cannot Cure the Deficiencies in its WIIN Act Contract Because
19                         the WIIN Act Authorization Has Now Expired.
20
20          The Fresno County Superior Court has entered judgment denying Westlands the required
21
21   validation of its WIIN Act contract due to inherent and fundamental deficiencies in its contract
22
22   that prevent validation under California state law. This affirmative denial of validation renders
23
23   Westlands’ WIIN Act contract invalid and unenforceable against the United States. Central
24
24   Arizona Irrigation & Drainage Dist. v. Lujan, 764 F. Supp. 582, 593 (D. Ariz. 1991) (“Federal
25
     law requires that any contracts with the United States for the delivery of water from a
25
26
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     PLAINTIFF’S RESPONSE IN OPPOSITION TO
27   WESTLANDS WATER DISTRICT’S
     MOTION TO INTERVENE AS DEFENDANT - 11
28
          Case 1:20-cv-01814-JLT-EPG Document 104 Filed 12/09/22 Page 16 of 20



1    reclamation project will not be valid and binding on the federal government until after those

2    contracts have been validated under the appropriate state proceedings.”); Barcellos & Wolfsen,

33   Inc. v. Westlands Water Dist., 491 F. Supp. 263, 265 n.1 (E.D. Cal. 1980) (citing 43 U.S.C. § 511

44   for proposition that “no water shall be delivered pursuant to any contract entered into with an

55   irrigation district until such contracts have been confirmed by a State court of competent

66   jurisdiction”).

 7           Under California Code of Civil Procedure § 870, subsection (a), a final validation
 7
 8   judgment is “binding and conclusive” as to “all matters therein adjudicated or which at that time
 8
 9   could have been adjudicated. See also Central Arizona Irrigation & Drainage Dist., 764 F.
 9
10   Supp. at 593-595 (final validation judgment was binding and res judicata against irrigation
10
11   district, which barred subsequent suit by irrigation district regarding contract). Here, Westlands
11
12   is affirmatively bound by the judgment that denies validation of its WIIN Act contract. Id.
12
13           In addition, Reclamation cannot cure the fundamental deficiencies in Westlands’ WIIN
13
14   Act contract through re-negotiation or amendment because the authorization to enter into
14
15   permanent repayment contracts under the WIIN Act expired on December 16, 2021. Thus,
15
16   Reclamation does not have authority to execute any new, revised, or amended WIIN Act contract
16
17   with Westlands. Reclamation cannot now negotiate a valid or enforceable contract with
17
18   Westlands pursuant to the WIIN Act because that legal authority has expired.
18
19           Westlands lacks the “legally protectable interest” that is required for intervention under
19
20   FRCP 24(a)(2). See Donnelly v. Glickman, 159 F.3d 405, 409 (9th Cir. 1998) (“significant
20
21   protectable interest” for purposes of intervention means “an interest that is protected under some
21
22   law”). Here, Westlands purported interests in the WIIN Act contracts are expressly not
22
23   supported or protected by any law; in fact, its interests are invalid and unenforceable under law
23
24   and cannot support its intervention in this litigation.
24
25
25
26
26
     PLAINTIFF’S RESPONSE IN OPPOSITION TO
27   WESTLANDS WATER DISTRICT’S
     MOTION TO INTERVENE AS DEFENDANT - 12
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          Case 1:20-cv-01814-JLT-EPG Document 104 Filed 12/09/22 Page 17 of 20


                        3. The Federal Defendants Adequately Represent Westlands In This Case.
1
            Because Westlands’ WIIN Act contract is not binding or enforceable due to the denial of
2
     validation and expiration of the WIIN Act, Westlands has failed to meet multiple required
33
     elements of the intervention of right test. Intervention is also inappropriate because Westlands
44
     will be adequately represented by the federal Defendants in this proceeding. Westlands has the
55
     burden of proving inadequate representation. Arakaki v. Cayetano, 324 F.3d 1078, 1084 (9th Cir.
66
     2003); Ranchers Cattlemen Legal Fund v. USDA, 143 Fed. Appx. 751, 754 (9th Cir. 2005).
 7
 7
     “When an applicant for intervention and an existing party have the same ultimate objective, a
 8
 8
     presumption of adequacy arises. . . . There is also an assumption of adequacy when the
 9
 9   government and the applicant are on the same side. In the absence of a ‘very compelling
10
10   showing to the contrary,’ it will be presumed that a [government defendant] adequately
11
11   represents its citizens when the applicant shares the same interest.” Arakaki, 324 F.3d at 1086.
12
12          Here, Westlands is seeking to intervene on the same side as the United States and
13
13   Westlands shares interests with the United States in defeating Plaintiff’s suit. Westlands has not
14
14   overcome the presumption of adequate representation. Westlands’ principal argument regarding
15
15   adequate representation is that the Court in the CBD and NCRA cases found that the United
16
16   States was not a sufficiently adequate representative of Westlands. However, as noted above,
17
17   both of those decisions do not account for the facts and legal developments that are unique to
18
18   Westlands’ WIIN Act contract. Lacking a binding, enforceable contract at issue in this case, any
19
19   general interest that Westlands may have in this proceeding is adequately represented by the
20
20   federal Defendants. The motion for intervention of right should be denied.
21
21          B. The Court Should Also Deny Permissive Intervention.
22
22          In the alternative, Westlands seeks permissive intervention pursuant to FRCP 24(b).
23
     FRCP 24(b) allows for permissive intervention where the applicant “has a claim or defense that
23
24
     shares with the main action a common question of law or fact.” Here, however, it is not possible
24
25
     for the parties or the Court to determine whether Westlands has a claim or defense that shares a
25
26
26
     PLAINTIFF’S RESPONSE IN OPPOSITION TO
27   WESTLANDS WATER DISTRICT’S
     MOTION TO INTERVENE AS DEFENDANT - 13
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          Case 1:20-cv-01814-JLT-EPG Document 104 Filed 12/09/22 Page 18 of 20



1    common question of law or fact with the main action because Westlands has improperly failed to

2    comply with FRCP 24(c) which requires that a motion to intervene must be accompanied by a

33   pleading that sets out the claim or defense for which intervention is sought. Absent the required

44   pleading, which is plainly required by FRCP 24(c), there is no basis to grant permissive

55   intervention as Westlands has not made known what claims or defenses that it may have. The

66   only basis for permissive intervention asserted in the text of Westlands motion is its interest in

 7   defending its contracts; but as explained above, Westlands’ WIIN Act contract is not valid or
 7
 8   enforceable due to the Fresno County Superior Court’s judgment denying validation.
 8
 9          Granting Westlands permissive intervention would also prejudice Hoopa’s adjudication
 9
10   of this suit. Hoopa’s claims are solely against the United States, who stands as a fiduciary and
10
11   trustee to the Tribe. Hoopa does not contend that Westlands is barred from having a water
11
12   contract; rather, Hoopa claims only that the United States must demand and include the terms
12
13   and conditions protective of Hoopa’s interests in CVP water contracts as required by CVPIA
13
14   Section 3404(c)(2) and the Law of the Trinity River. This suit solely involves a dispute between
14
15   the United States and its trust beneficiary, the Hoopa Valley Tribe, regarding the United States’
15
16   legal obligations. Hoopa would be prejudiced by Westlands’ participation in this suit against the
16
17   United States as Hoopa would be forced to defend and respond to multiple briefs and potentially
17
18   other motions and filings on collateral issues presented by Westlands, despite their lacking an
18
19   interest “under some law.” Glickman, 159 F.3d at 409. The Court should deny Westlands
19
20   request for permissive intervention.
20
21          C. Westlands Has Failed to Comply With FRCP 24(c).
21
22          FRCP 24(c) provides that a motion to intervene “must state the grounds for intervention
22
23   and be accompanied by a pleading that sets out the claim or defense for which intervention is
23
24   sought.” In this Circuit a movant is required to make “well-pleaded, nonconclusory allegations in
24
25   the motion to intervene, the proposed . . . answer in intervention, and declarations supporting the
25
26   motion.” Berg , 268 F.3d at 820. Westlands has made conclusory allegations in its motion that
26
     PLAINTIFF’S RESPONSE IN OPPOSITION TO
27   WESTLANDS WATER DISTRICT’S
     MOTION TO INTERVENE AS DEFENDANT - 14
28
          Case 1:20-cv-01814-JLT-EPG Document 104 Filed 12/09/22 Page 19 of 20



1    are unsupported by a well-pleaded proposed answer, administrative record or declarations. Berg

2    states further:
             District courts may often be able to determine whether a prima facie case is made out by
33           reference to the proposed intervenor's papers alone; however, we do not foreclose
44           consideration of the pleadings and affidavits of opponents to intervention, nor do we
             preclude district courts from holding a hearing when necessary to resolve ambiguities or
55           conflicts. See 7C Wright, Miller, & Kane, supra, § 1914 (2d ed. 1986) (“Ordinarily there
             will be a hearing on the motion, at least if there is objection to the intervention from any
66           party, but a hearing is not required if it is clear from the face of the application that the
             motion must be denied.”).
 7
 7
     Id. Westlands’ failure to accompany its motion with a pleading that sets out the claim or defense
 8
 8
     for which intervention is sought is improper and creates prejudice by making it impossible for
 9
 9
     the court and parties to evaluate and respond to the alleged basis for intervention. Westlands
10
10   failure in this regard provides independent grounds to deny intervention.
11
11
12                                           V.      CONCLUSION
12
13          Due to the decisions denying validation of Westlands’ WIIN Act contract and the
13
14   December 16, 2021 expiration of the Federal Defendants’ contracting authority under the WIIN
14
15   Act, Westlands does not have a legally protectable interest that could support intervention in this
15
16   litigation. Nor, given its lack of a binding or enforceable WIIN Act contract, does it have any
16
17   interest that could be impaired by this litigation. And Westlands is adequately represented by
17   the federal Defendants. Due to these material facts and legal developments, Westlands’ current
18
18   motion to intervene must be denied in its entirety.
19
19
20   DATED this 9th day of December, 2022.
20                                       MORISSET, SCHLOSSER, JOZWIAK & SOMERVILLE
21
                                           /s/ Thane D. Somerville
21
22                                       Thane D. Somerville WSBA #31468
22                                       Thomas P. Schlosser WSBA #06276
23                                       MORISSET, SCHLOSSER, JOZWIAK & SOMERVILLE
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                                         Seattle, WA 98104
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25                                       Tel: 206-386-5200/Fax: 206-386-7322
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     PLAINTIFF’S RESPONSE IN OPPOSITION TO
27   WESTLANDS WATER DISTRICT’S
     MOTION TO INTERVENE AS DEFENDANT - 15
28
          Case 1:20-cv-01814-JLT-EPG Document 104 Filed 12/09/22 Page 20 of 20



1                                    CERTIFICATE OF SERVICE

2
            I hereby certify that on December 9, 2022, I electronically filed the foregoing with the
33
     Clerk of the Court using the CM/ECF system, which will send notification of such to the
44
     attorneys of record.
55

66
                                                         /s/ Thane D. Somerville
 7                                                       Thane D. Somerville
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     PLAINTIFF’S RESPONSE IN OPPOSITION TO
27   WESTLANDS WATER DISTRICT’S
     MOTION TO INTERVENE AS DEFENDANT - 1
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